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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Luis Acosta, on behalf of himself and all            )
other similarly situated persons, known              )
and unknown,                                         )
                Plaintiffs,                          )       Case No. 15-cv-8942
                                                     )       Judge Sara L. Ellis
v.                                                   )       Magistrate Judge Mary M. Rowland
                                                     )
El Ranchito Food, Inc., and Inaam Ayyash             )
individually,                                        )
              Defendants.                            )

     ORDER OF APPROVAL OF SETTLEMENT AND ORDER OF DISMISSAL OF
                        PLAINTIFF’S CLAIMS

       THIS CAUSE having come before the Court on the Parties’ Joint Motion for Court

Approval of Settlement and Dismissal of Plaintiff’s Claims, it is hereby:

       ORDERED AND ADJUDGED as follows:

       1.      This Court hereby grants the Parties’ Joint Motion for Court Approval of

Settlement of Plaintiff’s Claims.

       2.      After having reviewed the terms and conditions hereof, this Court hereby accepts

and approves the settlement reached between Defendants El Ranchito Market, Inc. (incorrectly

identified as “El Ranchito Food, Inc.”), and Inaam Ayyash (collectively, “Defendants”) and

Plaintiff as a fair and reasonable settlement of bona fide disputes over the provisions of the Fair

Labor Standards Act and the Illinois Minimum Wage Law.

       3.      Plaintiff’s claims are hereby dismissed without prejudice that will become with

prejudice on June 30, 2016, absent a motion to enforce the Parties’ settlement of this matter, and

with each party to bear his or its own attorneys’ fees and costs except as otherwise agreed.

THIS CASE IS CLOSED.
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          DONE AND ORDERED this 12th day of April 2016.




                                         Honorable Judge Sara L. Ellis




4816-8619-3711, v. 2




                                            2
